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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF
                             IOWA CENTRAL DIVISION
SEDINA TRALJES

     Plaintiffs,                               Case No. 4:17-cv-00376-RBE-SBJ

v.                                         NOTICE OF STIPULATED DISMISSAL
                                                   WITH PREJUDICE
ENHANCED RECOVERY COMPANY,
LLC d/b/a ERC,

     Defendant.


         COMES NOW, the undersigned attorney on behalf of the Plaintiff, Sedina Traljes,

and hereby files her Stipulated Notice of Dismissal for the above captioned matter with

prejudice. It is hereby stipulated and agreed by and between the parties and their

respective counsel that the above captioned matter is voluntarily dismissed with

prejudice against the Defendant, Enhanced Recovery Company, LLC.




/s/ John G. Daufeldt                     /s/ Samuel Z. Marks
John G. Daufeldt                         Samuel Z. Marks AT0004896
Daufeldt Law Firm, P.L.C.                Marks Law Firm, P.C.
1896 P Ave., P.O. BOX 70                 4225 University Avenue
Conroy, IA 52220                         Des Moines, Iowa 50311
ATTORNEY FOR THE                         Telephone: (515) 276-7211
DEFENDANT                                Fax: (515) 276-6280
                                         sam@markslawdm.com
                                         ATTORNEY FOR PLAINTIFF
